      Case 1:17-cv-05591-EK-LB    Document 32    Filed 02/09/18   Page 1 of 3 PageID #: 108


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      Case 1:17-cv-05591-EK-LB   Document 32    Filed 02/09/18   Page 2 of 3 PageID #: 109




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